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                              UNITED STATES DISTRICT COURT
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                             CENTRAL DISTRICT OF CALIFORNIA
    9
                                       WESTERN DISTRICT
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         A PARENT MEDIA CO. INC.,                     CASE NO. 2:21-CV-04897-SVW-KS
   12
                      Plaintiff,                          ORDER FOR STIPULATED
   13                                                     PERMANENT INJUNCTION
         v.
   14
         GENIUS BRANDS INTERNATIONAL,
   15    INC.,
   16                 Defendant.
   17
                     BEFORE THE COURT is Plaintiff A Parent Media Co. Inc. (“Parent
   18
        Media” or Plaintiff”) and Defendant Genius Brands International, Inc.’s (“GBI” or
   19
        “Defendant”) Stipulated Permanent Injunction. Having considered the parties’
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        submission including the Verified Complaint, the Stipulation as to Liability, and the
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        motion in support of this request, and being fully advised on this matter, the Court
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        now enters this Stipulated Permanent Injunction Order based on the following facts
   23
        set forth below, which are agreed to by the parties.
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                     Each signatory to this Stipulated Permanent Injunction certified that he
   25
        or she is fully authorized, either individually or by the party or parties he or she
   26
        represents, to stipulate to this Stipulated Permanent Injunction on behalf of the party
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        or parties represented and legally bind that party or parties.
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    1        I.      JURISDICTION
    2        The Court has jurisdiction under 28 U.S.C. § 1331 and § 1338 because this
    3 dispute concerns the rights of the parties under the Lanham Act, 15 U.S.C. § 1051,
    4 et seq. Supplemental jurisdiction over the state law claims is vested in this Court
    5 under 28 U.S.C. § 1367. The parties agree that they are subject to the Court’s
    6 jurisdiction and that venue in this District is proper.
    7        II.     FINDINGS OF FACT
    8                1.    Parent Media filed its Verified Complaint (“Complaint”) in this
    9        action on June 16, 2021.
   10                2.    Parent Media operates an online platform named “Kidoodle.TV,”
   11        which provides entertainment content for children online via Parent Media’s
   12        website at www.kidoodle.tv and mobile application software. Parent Media
   13        owns US Federal trademark registrations for the marks KIDOODLE.TV®,
   14        KIDOODLE® and KIDOODLETV® for a variety of services involving the
   15        distribution of educational and entertainment programming for children via the
   16        Internet.
   17                3.    GBI operates an online platform named “Kartoon Channel!”
   18        which provides entertainment content for children online via GBI’s website at
   19        www.kartoonchannel.com and mobile application software.
   20                4.    Parent Media has legally protected intellectual property rights.
   21                5.    Parent Media has registered the KIDOODLE.TV® mark in
   22        association with educational and entertainment digital media for children,
   23        namely streaming of video via internet featuring music, movies, and television
   24        programs for children for educational and entertainment purposes on the U.S.
   25        Patent and Trademark Office’s Principal Register, under Registration No.
   26        6,210,025. Parent Media’s date of first use of this mark goes back to at least
   27        2012.
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    1               6.    Parent Media has also registered the KIDOODLETV® mark
    2        (Registration No. 4,810,779) and KIDOODLE® (Registration No. 4,810,778)
    3        in association with, among other things, the same fields. Parent Media’s date
    4        of first use of these marks goes back to at least 2012.
    5               7.    Parent Media alleges that GBI had unlawfully used Parent
    6        Media’s federally-registered trademarks KIDOODLE.TV®, KIDOODLE®
    7        and KIDOODLETV® in the text of certain online Google Ads advertisements
    8        for GBI’s Kartoon Channel! platform, and that such use of Parent Media’s
    9        trademarks constituted (1) federal trademark infringement under 15 U.S.C. §
   10        1114, (2) false designation of origin or sponsorship and unfair competition
   11        under 15 U.S.C. § 1125(A), (3) statutory unfair competition and false
   12        advertising under Cal. Bus. & Prof. Code §§ 17200 & 17500 et seq., and (4)
   13        trademark infringement under common law.
   14               8.    GBI does not dispute that between April 19, 2021 and June 17,
   15        2021 the text “Kidoodle TV” appeared within the text of certain online Google
   16        Ads advertisements for GBI’s Kartoon Channel! platform displayed to Google
   17        users who performed a Google search for the term “kidoodle tv.”
   18               9.    GBI and Parent Media agree and stipulate that the display of the
   19        text “Kidoodle TV” within online Google Ads advertisements for GBI’s
   20        Kartoon Channel! platform constituted (1) federal trademark infringement
   21        under 15 U.S.C. § 1114, (2) false designation of origin or sponsorship and
   22        unfair competition under 15 U.S.C. § 1125(A), (3) statutory unfair competition
   23        and false advertising under Cal. Bus. & Prof. Code §§ 17200 & 17500 et seq.,
   24        and (4) trademark infringement under common law.
   25        III.   ORDER
   26               IT IS HEREBY ORDERED as follows:
   27               1.    Pursuant to Fed. R. Civ. P. 65, Defendant, its respective officers,
   28        employees, agents (including, without limitation, any third-party marketing
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    1        companies), servants, affiliates (including, without limitation, ChizComm Ltd.
    2        and ChizComm Beacon Media), successors in interest, attorneys, and all
    3        persons in active concert are hereby PERMANENTLY ENJOINED AND
    4        RESTRAINED from using the KIDOODLE®, KIDOODLETV® and
    5        KIDOODLE.TV® marks, or any mark confusingly similar to the
    6        KIDOODLE®, KIDOODLETV®, and KIDOODLE TV® marks in
    7        commerce, including but not limited to, in its advertisement, marketing,
    8        promotion, offer for sale of services and/or sale of services, in a manner which
    9        is likely to cause confusion among the consuming public as to whether
   10        Defendant and/or its services are affiliated with Plaintiff and/or its services.
   11                 2.   This Stipulated Permanent Injunction is a final judgment in this
   12        action and is suitable for entry by the Clerk pursuant to Fed. R. Civ. P. 58 and
   13        79(a).
   14                 3.   This Stipulated Permanent Injunction is final and may not be
   15        appealed by either party.
   16
   17 Dated: December 1, 2021
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   20                                                 The Honorable Stephen V. Wilson
                                                      UNITED STATES DISTRICT
   21                                                 JUDGE
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